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12
                                        UNITED STATES DISTRICT COURT
13

14                                    THE EASTERN DISTRICT OF CALIFORNIA

15                                             FRESNO DIVISION
16   GERALD CARLIN, JOHN RAHM, PAUL                   )     Case No. 1:09-CV-00430-AWI-GSI
17   ROZWADOWSKI and BRIAN WOLFE,                     )
     individually and on behalf of themselves and all )
18   others similarly situated,                       )     ORDER GRANTING DEFENDANT
                                                      )     DAIRYAMERICA’S REQUEST TO
19                  Plaintiffs,                       )     SEAL DOCUMENTS AND FILE
                                                      )     REDACTED VERSIONS
20           v.                                       )
21                                                    )
     DAIRYAMERICA, INC., et al.,                      )
22                                                    )
                    Defendants.                       )
23                                                    )
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                         ORDER GRANTING DEFENDANT DAIRYAMERICA’S REQUEST TO SEAL DOCUMENTS

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                                 Case 1:09-cv-00430-AWI-EPG Document 169 Filed 07/24/14 Page 2 of 2

                             1                                                   ORDER
                             2            This matter comes before the Court on Defendant DairyAmerica’s Request to Seal
                             3   Documents and File Redacted Versions (the “Request”) pursuant to Gen. L.R. 140 and 141. No
                             4   opposition to the Request was submitted. Upon review of the Request and the papers submitted in
                             5   support thereof, the Request is GRANTED. Accordingly, it is hereby ordered that the Clerk of the
                             6   Court shall file unredacted versions of the following documents under seal:
                             7            1.       Defendant DairyAmerica’s Opposition to Plaintiffs’ Motion for Leave to File
                             8   Second Amended Complaint;
                             9            2.       Declaration of Allison A. Davis in Support of Defendant DairyAmerica’s
                            10   Opposition to Plaintiffs’ Motion for Leave to File Second Amended Complaint, including Exhibits
DAVIS WRIGHT TREMAINE LLP




                            11   A through E; and
                            12            3.       Declaration of Charles M. English in Support of Defendant DairyAmerica’s
                            13   Opposition to Plaintiffs’ Motion for Leave to File Second Amended Complaint.
                            14            In order to facilitate the filing of unredacted versions of the above-referenced documents
                            15   under seal, Defendant DairyAmerica shall e-mail these documents to the following e-mail address:
                            16   ApprovedSealed@caed.uscourts.gov. Upon entry of this Order and after the Clerk of the Court
                            17   has filed the unredacted documents under seal, Defendant DairyAmerica shall file redacted
                            18   versions of the above-referenced documents directly via CM/ECF.
                            19             The Court notes that DairyAmerica has already served counsel for Plaintiffs with copies
                            20   of the unredacted documents. Counsel are advised that only the Court and its staff shall have
                            21   access to the unredacted documents filed under seal.
                            22
                                 IT IS SO ORDERED.
                            23
                            24       Dated:       July 24, 2014                          /s/ Gary S. Austin
                                                                               UNITED STATES MAGISTRATE JUDGE
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                                                     ORDER GRANTING DEFENDANT DAIRYAMERICA’S REQUEST TO SEAL DOCUMENTS

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